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EXHIBIT 13
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3
IN THE UNITED STATES DISTRICT COURT 1 INDEX
FOR THE DISTRICT OF MASSACHUSETTS 2 WITNESS: GAYLE LAWSON
3 INDEX OF EXAMINATIONS
IN RE; NEURONTIN MARKETING, SALES )CASE NO. 4 Page/Line
PRACTICES AND PRODUCTS LIABILITY j04-10981 5 By Mr. Ferguson 96 03
6
LITIGATION } 7
) , INDEX OF EXHIBITS
8
} No. 1 70 14
THIS DOCUMENT RELATES TO: } 9 {Suicide Letter)
10
}
. 11
RUTH SMITH, Individually andas }05-C'V-11515 12
Widow for the use and benefit of } 13
14
herself and the next of kin of =} 15
Richard Smith, deceased. } 16
\ WF
18
VIDEOTAPED DEPOSITION OF: 19
GAYLE LAWSON 20
21
Taken on behalf of the Defendant 22
October 4, 2007 23
24
25
4
1 APPEARANCES: 1 The videotaped deposition of GAYLE
2 Far the Plaintiff: 2 LAWSON, taken on behalf of the Defendant, at
3 MAURA KOLB, ESQUIRE
KENNETH 8. SOH, ESQUIRE 3. the Sheraton Music City Hotel, 777 McGavock
4 Lanier Law Firm 4 Pika, Nashville, Tennessee, for all purposes
6810 F.M. 1960 West a
if .
5 Houston, Texas 77069 5 under the Tennessee Rules of Civil Procedure.
(713) 659-5200 6 The formalities as to notice,
6 (713) 659-2204 7 ~~ caption, certificate, et cetera, are waived.
mek@lanieawfirm.com tt
7 kss@laniertawhirm.com 8 All objections, except as to the form of the
8 9 questions, ara reserved to the hearing.
For the Defendant: 10 It is agreed that Deborah J. Harris,
9
KENNETH G, FERGUSON, ESQUIRE 11. being a Notary Public and Court Reporter for
10 Clark, Thomas & Winters 12 the State of Tennessee, may swear the witness,
P.O. Box 1148 13° and that the reading and signing of the
11 Austin, Texas 78767 a .
(512) 472-8800 14 completed deposition by the witness are
12 {542) 474-1129 15 reserved,
kji@ctw.com 46
13
14 Also Present: Andrew Langston, Videographer 7
15 18
16 ene
17 "9
18 20
19 241
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a 22
22 23
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Neurontin Track One (Plaintiff / Presériber / Expert Depos)

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23 31
4 the last several months of his life, as compared 1 about him being quiet and withdrawn?
2 to previous years? z A No, | never thought that he needed to
3 A Yes. 3. ssee anybody.
4 Q In what way? 4 Q Did you ever go to any doctors’
5 A He, um, I'm sorry, would you please § appointments with your father?
6 tell ma what i need to answer again. & A No,
7 Q Sure. You indicated that, in response 7 Q Did you ever drive him to any doctors’
8 te an earlier question, that in terms of his 8 = appointments where you would drop him off and
9 mood, his behavior was different in the last 9 then wait for him; anything like that?
10 several months, as compared to previous years 10 A No.
11 and | was asking you in what way? Can you 41 Q What kind of things did your dad like to
12. describe that for us? 12 do? Let's go years prior to his death, what
13 A Daddy was -- Daddy was quieter and — 13. kind of activities did he like to do?
14 he was quiet and withdrawn. 14 Do you want to take a quick break, or
15 Q Anything else? | don't want to cut you 15 are you okay?
16 _—ooff. 16 A Just give me a second,
17 A That's all. 17 Q Sure. Take your time.
18 Q And | realize you're not a medical 18 A Daddy loved to sing. He loved to be
19 person, and I'm not asking you this from a 19 around his family. He loved to eat. He always
20 = medical standpoint, but did he appear io be 20 = enjoyed going to church and tinkering around
21 ~~ depressed in the last coupla months of his lifa? 21 the house, And he loved life,
22 A | don't think so. 22 MS. KOLB: Do you want to take a
23 Q And | want to expand the time period 23 = break?
24 = here alittle. | don't want to confuse you. 24 THE WITNESS: (Witness nods head
25 = But during the years 2003 and 2004, up unti his 25° up and down.)
30 32
4 death, are you aware of whether he ever reported 1 THE VIDEOGRAPHER: We are now
2 to his physicians that ha was depressed? 2 going off the record. The time on the video
3 A And what time period are we talking 3s monitor is 9:58,
4 = about? 4 (BREAK WAS TAKEN AT 9:58 P.M.)
5 Q 2003. Calendar year 2003 and 2004, up 5 {BACK ON THE RECORD AT 10:16 A.M.)
6 until the time of his death. 6 THE VIDEOGRAPHER: We are now
7 A ('m unaware of anything like that. 7 coming back onto the record, The time on the
8 Q Did either your mother or your sisters 8 video monitor is 10:16.
9 ever discuss with you any thoughts they had? 9 BY MR. FERGUSON:
40 = And I'm not saying they did or didn't, Dut did 10 Q Ma'am, are you ready to proceed?
11. they ever discuss thoughts they might have had 1 A lam. Thank you.
12. that ha was depressed? 12 Q Are you doing okay?
13 A No. 13 A lam. Thank you.
14 Q Did you ever participate in any kind of 14 Q Just let us know if you need to take
15 family discussicn about whether your fathar 15 another break, okay?
16 should go see a psychiatrist, psychologist, or 16 A (Witness nods head up and down.)
17 — other type of mental health care counselor? 7 @ | beliave we were talking about some of
18 A tdidn’t. 18 the activities that your father anjoyed doing.
19 Q Are you aware of whether any such 19 | heard from others that he liked doing yard
20 ~— discussion took place between your sisters 20 ~~ s work, including mowing the tawn; is that true,
21 ~~ and/or your mother? 21 according to your recollection?
22 A i'm not aware of anything. 22 A He did those things. I'm not so sure
23 Q Did you ever, again, not as a medical 23 ~—she enjoyed them.
24 so person, but as a concerned daughter, form an 24 Q How about working on cars; did you see
25 opinion that maybe he ought te see somebody 25 — him work on cars at all?
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